Case: 6:17-cv-00157-KKC-HAI Doc #: 38 Filed: 02/01/18 Page: 1 of 2 - Page ID#: 391



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 LONDON DIVISION

                                      Electronically Filed

 DAVID WILSON, as Administrator of the
 Estate of Lisa Noble, Deceased, Plaintiff
                                                     Civil Action No. 6:17-cv-157-KKC
 VS.

 BEACON TRANSPORT, LLC and
 TERRAN COOPER, Defendants

                                NOTICE OF FILING OF
                            PLAINTIFF’S PROOF OF SERVICE
                           OF SUBPOENA ON TAMMY SAYLOR


       Comes now the Plaintiff, David Wilson, Administrator of the Estate of Lisa Noble,

Deceased, by counsel, and gives notice of his filing of proof of service of the subpoena on

Tammy Saylor.

   Said proof of service is attached hereto as Exhibit A.


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                                             By: /s/D. Randall Jewell___________
                                                 ATTORNEYS FOR PLAINTIFF


                                          Page 1 of 2 Pages
Case: 6:17-cv-00157-KKC-HAI Doc #: 38 Filed: 02/01/18 Page: 2 of 2 - Page ID#: 392



                                 CERTIFICATE OF SERVICE
       On February 1, 2018, I electronically filed this document through the ECF system, which
will send a notice of electronic filing to counsel of record.
       And I mailed this document to:

               Harlan E. Judd, III
               Harlan E. Judd & Associates
               P.O. Box 51093
               Bowling Green, Kentucky 42102


                                               By: s/D. Randall Jewell___________
                                                  ATTORNEYS FOR PLAINTIFF




                                            Page 2 of 2 Pages
